                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION


 DR. JULIA GRUBER, et al.,

         Plaintiffs,                               Case No. 2:21-cv-00039
 v.
                                                   Chief Judge Waverly D. Crenshaw, Jr.
 TENNESSEE TECH BOARD OF                           Magistrate Judge Alistair E. Newbern
 TRUSTEES, et al.,

         Defendants.


                                             ORDER

         On June 13, 2022, counsel were directed to file a joint report of the status of their case

resolution efforts by August 19, 2022. (Doc. No. 55.) No status report has been filed. The parties

are ORDERED to file the joint status report by August 29, 2022.

         It is so ORDERED.



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                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




      Case 2:21-cv-00039 Document 58 Filed 08/22/22 Page 1 of 1 PageID #: 2422
